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            8                       UNITED STATES DISTRICT COURT
            9                     CENTRAL DISTRICT OF CALIFORNIA
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        11      ESTELA VEGA, an individual,             CASE NO.: EDCV20-1805-JGB(KKx)
        12                        Plaintiff,
                                                        [PROPOSED] ORDER RE:
        13      v.                                      STIPULATION FOR PROTECTIVE
                                                        ORDER
        14      WALMART, INC., a Delaware
                Corporation; CLINTON                    Courtroom:        1
        15      FAUCETTE, an individual; and            District Judge: Hon. Jesus G. Bernal
                DOES 1 through 50 inclusive,            Magistrate Judge: Hon. Kenly Kiya Kato
        16                                              Complaint Filed: May 19, 2020
                                  Defendants.           Trial Date:
        17

        18                                ORDER ON STIPULATION
        19            Based on the parties’ stipulation and good cause appearing, the Court hereby
        20      ENTERS the Protective Order as set forth at docket 16.
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                      IT IS SO ORDERED.
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        23      Dated: October 21, 2020
                                                 _________________________________
        24                                       Honorable Kenly Kiya Kato
                                                 United States Magistrate Judge
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2354-9288
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                                                                      CERTIFICATE OF SERVICE
                                                                  CASE NO. 5:20-CV-01805- JGB
